        Case 1:21-cr-00022-CKK Document 55-1 Filed 10/12/21 Page 1 of 2




                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                      October 12, 2021

Via Email
Brent Mayr
Mayr Law, P.C.
Houston Office:
5300 Memorial Drive, Suite 750, Houston, TX 77007
The Woodlands Office:
1095 Evergreen Cir., Suite 200, The Woodlands, TX 77380
bmayr@mayr-law.com

       Re:      United States v. Christopher Grider
                Case No. 1:21-cr-00022-CKK

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:

             1. Twitter subpoena returns for two defendant accounts (2 zip files)
             2. Defendant’s jail calls (one zip file, one report)
             3. SENSITIVE – Video from other Capitol investigations obtained pursuant
                to legal process:
                    a. D-11 videos (x2)
                    b. D-12 videos (x4)
             4. SENSITIVE: Officer interview transcripts (2 files)

       This material is subject to the terms of the Protective Order issued in this case. Please
adhere to sensitivity markings.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        I will forward additional discovery as it becomes available. Due to the extraordinary
nature of the January 6, 2021 Capitol Attack, the government anticipates that a large volume of
materials may contain information relevant to this prosecution. These materials may include, but
        Case 1:21-cr-00022-CKK Document 55-1 Filed 10/12/21 Page 2 of 2




are not limited to, surveillance video, statements of similarly situated defendants, forensic
searches of electronic devices and social media accounts of similarly situated defendants, and
citizen tips. The government is working to develop a system that will facilitate access to these
materials. In the meantime, please let me know if there are any categories of information that
you believe are particularly relevant to your client.

       If you have any questions, please feel free to contact me.

                                                    Sincerely,


                                                    _______________________
                                                    Candice C. Wong
                                                    Assistant United States Attorney
                                                    202-252-7849
                                                    Candice.wong@usdoj.gov




                                                2
